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        ORDERED in the Southern District of Florida on May 15, 2019.




                                                                                                 Laurel M. Isicoff
                                                                                                 Chief United States Bankruptcy Judge
_____________________________________________________________________________

                                                      UNITED STATES BANKRUPTCY COURT
                                                       SOUTHERN DISTRICT OF FLORIDA
                                                               MIAMI DIVISION

        In re:                                                                                                  Case No.: 17-21018-LMI

        Aleida Nunez,                                                                                           Chapter 13

                     Debtor.
                                          /

                          ORDER DENYING CREDITOR’S MOTION FOR RELIEF FROM ORDER
                              CONFIRMING CHAPTER 13 PLAN WITHOUT PREJUDICE

                     THIS CAUSE came on for hearing on the 7th day of May, 2019 on Creditor’s Motion for Relief

        from Order Confirming Chapter 13 Plan [DE#133], the court having heard argument of counsel and for

        the reasons stated on the record, it is:

                     ORDERED:

                     1.           Creditor’s Motion for Relief from Order Confirming Chapter 13 Plan [DE# 133] is

                                  DENIED without prejudice for the reasons stated on the record.
                                                                   ###

        Copies Furnished:
        Freire & Gonzalez, P.A., Debtor’s Counsel
        Aleida Nunez, Debtor
        Nancy K. Neidich, Chapter 13 Trustee
        Reverse Mortgage Solutions, Creditor

        The movant, or movant's counsel, Freire & Gonzalez, P.A., shall serve a copy of this notice and unless previously served, the above-described pleading to all required
        parties and within the time frames required by the Federal Rules of Bankruptcy Procedure, local rules, or orders of the court, and shall file this original notice and
        completed certificate of service
